Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 1 of 41 Page ID #:1




                                                              %#SPXO
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 2 of 41 Page ID #:2
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 3 of 41 Page ID #:3
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 4 of 41 Page ID #:4
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 5 of 41 Page ID #:5
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 6 of 41 Page ID #:6
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 7 of 41 Page ID #:7
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 8 of 41 Page ID #:8
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 9 of 41 Page ID #:9
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 10 of 41 Page ID #:10
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 11 of 41 Page ID #:11
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 12 of 41 Page ID #:12
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 13 of 41 Page ID #:13
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 14 of 41 Page ID #:14
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 15 of 41 Page ID #:15
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 16 of 41 Page ID #:16
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 17 of 41 Page ID #:17
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 18 of 41 Page ID #:18
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 19 of 41 Page ID #:19
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 20 of 41 Page ID #:20
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 21 of 41 Page ID #:21
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 22 of 41 Page ID #:22
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 23 of 41 Page ID #:23
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 24 of 41 Page ID #:24
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 25 of 41 Page ID #:25
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 26 of 41 Page ID #:26
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 27 of 41 Page ID #:27
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 28 of 41 Page ID #:28
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 29 of 41 Page ID #:29
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 30 of 41 Page ID #:30
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 31 of 41 Page ID #:31
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 32 of 41 Page ID #:32
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 33 of 41 Page ID #:33
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 34 of 41 Page ID #:34
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 35 of 41 Page ID #:35
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 36 of 41 Page ID #:36
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 37 of 41 Page ID #:37
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 38 of 41 Page ID #:38
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 39 of 41 Page ID #:39
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 40 of 41 Page ID #:40
Case 5:21-mj-00514-DUTY Document 1 Filed 08/03/21 Page 41 of 41 Page ID #:41
